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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

UNITED STATES OF AMERICA,                      :
                                               :           Case No. 2:15-CR-080
              Plaintiff,                       :           Case No. 2:14-CR-127
                                               :
       v.                                      :           Judge Algenon L. Marbley
                                               :
ROBERT B. LEDBETTER, et al.                    :
                                               :
              Defendants.                      :

                                           ORDER

       On May 29, 2015, Defendant Robert Wilson III moved to suppress all evidence seized as

a result of an allegedly unlawful traffic stop that occurred on April 10, 2008. (Doc. 597). This

Court scheduled a suppression hearing for November 12, 2015. (Doc. 736). Wilson III now

moves for leave to withdraw his previously filed motion to suppress, and to cancel the related

suppression hearing. (Doc. 772).

       The Court finds good cause for Wilson III’s motion for leave to withdraw his motion to

suppress.   Accordingly, it is GRANTED.             Today’s suppression hearing likewise is

CANCELLED AS MOOT.

       IT IS SO ORDERED.



                                              s/ Algenon L. Marbley
                                            ALGENON L. MARBLEY
                                            UNITED STATES DISTRICT JUDGE

DATED: November 12, 2015




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